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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    ____________________________________________

    UNITED STATES OF AMERICA,

    v.                                                                       5:05-CR-322(NAM)

    WILLIAM ROBINSON, et al.,

                      Defendants.
    ____________________________________________
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    APPEARANCES:                                                             OF COUNSEL:

    Aswad & Ingraham                                                         Thomas R. Cline, Esq.
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    Binghamton, New York 13905

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    100 South Clinton Street
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    Syracuse, New York 13261-7198

    Norman A. Mordue, Chief U.S. District Judge:

                                  MEMORANDUM-DECISION AND ORDER

    I.      INTRODUCTION

            On August 1, 2005, United States Magistrate Judge Gustave J. DiBianco issued a warrant
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    authorizing, inter alia, the search of defendant William Robinson’s residence, 738 West

    Onondaga Street, Apartment 2, in Syracuse, New York. Law enforcement officers executed the

    search warrant on August 2, 2005. Presently before the Court is defendant’s motion1 to suppress
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      Near the caption of his motion papers, defendant states that “No Speedy Trial Exclusions Apply” to this motion.
    The Speedy Trial Act requires that the trial of a defendant “commence within seventy days from the filing date . .
    . of the . . . indictment, or from the date the defendant has appeared before a judicial officer . . . whichever date
    last occurs.” 18 U.S.C. § 3161(c)(1). Pursuant to § 3161(h)(1)(F), any “delay resulting from any pretrial motion,
    from the filing of the motion through the conclusion of the hearing on, or other prompt disposition of, such
    motion” is excluded from the speedy trial clock. Moreover, “delay attributable to any one defendant is charged
    against the single clock,” United States v. Pena, 793 F.2d 486, 489 (2d Cir. 1986); see also §3161(h)(7). Thus,
    as with all other motions in this case, the delay attributable to this motion is excluded from the speedy trial clock
    and is charged against all defendants.
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    all physical evidence law enforcement seized during their search of his residence. The

    government opposes defendant’s motion.

    II.    BACKGROUND

           On July 20, 2005, defendant and fifteen others were charged in a one-count indictment

    with conspiracy to engage in a pattern of racketeering activity as part of their alleged membership

    in the Elk Block gang, in violation of the Racketeer Influenced and Corrupt Organizations Act

    (RICO), 18 U.S.C. § 1962(d). On August 1, 2005, the government applied for a warrant to
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    search, inter alia, defendant’s residence for evidence of drug paraphernalia and documents related

    to drug distribution, phone records and address books, bank records, currency, photographs or

    other gang-related matter, pagers or cell phones, computer equipment, and evidence of the

    association and relationship of individuals in connection with gang or drug-related activity. The

    government supported the warrant application with an affidavit by Detective Sergeant Kevin
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    Murphy of the Onondaga County Sheriff’s Office and a copy of the indictment in this case.

    Regarding 738 West Onondaga Street, Apartment 2, Detective Murphy averred:

           The photograph attached to the search warrant was taken today, August 1, 2005, and
           it accurately depicts this building. This is a multi-unit apartment complex located on
           the east side apartment building on West Onondaga Street. The number “2” is clearly
           displayed on the mailbox next to the front door.
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           Defendant William Robinson is believed to live at this address. As demonstrated in
           Overt Acts 9, 13, 26, 32, 37, 42, 44, 52 and 53, Robinson has a long history with Elk
           Block that includes drug dealings and shootings. Earlier today, the aforementioned
           [cooperating witness] confirmed that he was in the basement bedroom of this
           apartment last Saturday with Robinson, that it was Robinson’s bedroom, and that he
           personally observed a handgun kept behind a television in the room. Robinson’s
           mother, Shelly Robinson, is the listed renter of this apartment. Additionally,
           Onondaga County Detective Matthew Hayes has encountered Robinson at this
           address pursuant to numerous prior criminal investigations.




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            As stated, Magistrate Judge DiBianco issued the search warrant on August 1, 2005.

    During their execution of the search warrant the following day, law enforcement seized, among

    other things: several rounds of ammunition; defendant’s Sheriff’s identification; Elk Block

    pictures; and a newspaper article regarding the murder of Demetrius Elmore. Defendant moves to

    suppress all evidence seized from his apartment.

    III.    DISCUSSION

            The Fourth Amendment to the Constitution provides that “no Warrants shall issue, but
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    upon probable cause, supported by Oath or affirmation, and particularly describing the place to be

    searched, and the persons or things to be seized.” U.S. Const. amend. IV; see also Fed.R.Crim.P.

    41. In reviewing a magistrate's probable cause determination, the Court must “accord substantial

    deference to the magistrate's finding and limit . . . review to whether the issuing judicial officer

    had a substantial basis for the finding of probable cause.” United States v. Singh, 390 F.3d 168,
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    181 (2d Cir. 2004). “To establish probable cause to search a residence, two factual showings are

    necessary-first, that a crime was committed, and second, that there is probable cause to believe

    that evidence of such crime is located at the residence.” United States v. Travisano, 724 F.2d

    341, 345 (2d Cir. 1983) (citing United States v. Harris, 403 U.S. 573, 584 (1971)).

            In this case, the warrant application provided a substantial basis for the finding of
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    probable cause. In his affidavit, Detective Murphy recited facts from the indictment, appended

    the indictment to the application, and incorporated the indictment by reference into his affidavit.

    The indictment charged defendant and others with conspiracy to conduct and participate, directly

    and indirectly, in the conduct of the affairs of the enterprise through a pattern of racketeering

    activity consisting of multiple acts involving murder, conspiracy to possess with intent to


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    distribute and distribution of crack and marijuana, and witness tampering, in violation of 18

    U.S.C. § 1962(d). The indictment also charged that:

           The Elk Block gang operates within a multi-block area on the south side of the City
           of Syracuse, New York, that is in and around Elk Street. Elk Block members
           routinely guard that territory and resort to acts of violence, if necessary, to ensure that
           no rival gang members encroach upon their territory to sell drugs, or for any other
           reason. If a non-Elk Block member attempts to sell crack within their territory, either
           on their own, or in conjunction with a rival gang, they will be summarily dismissed
           from the area and, likely, physically assaulted, stabbed, or shot. Rival gang members
           have been assaulted, stabbed or shot if they were seen in Elk Block territory, even if
           they were not dealing drugs. By tightly controlling their defined geographic area, Elk
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           Block members maintain an exclusive territory within which only Elk Block members
           can distribute their crack cocaine.

           For the vast majority of Elk Block gang members, the sale of crack cocaine is their
           sole source of income. Some of the more senior members of Elk Block act as crack
           cocaine suppliers for the younger members, who sell crack cocaine on the streets,
           thereby insulating somewhat the more senior members of Elk Block from exposure
           to criminal liability. When the younger members sell the crack cocaine, they keep a
           portion of the proceeds as a profit for themselves and use the balance to buy more
           crack cocaine from the senior members of Elk Block. The senior members of Elk
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           Block routinely pool their money and make, or arrange for others to make, trips to
           New York City on a regular basis to obtain additional quantities of crack cocaine.

           Elk Block gang members are expected to project a violent attitude in order to ensure
           that the gang's territory is protected. They are also expected to retaliate with acts of
           violence when rival gang members commit acts of violence against one or more Elk
           Block members. The Elk Block members believe that if this projection of violence
           and strong retaliation when acts of violence are committed against one of their
           members is not done, then their stature within the gang community in Syracuse would
           be lessened and their territory would be threatened.
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           The letter “E” is the call sign for Elk Block. Elk Block gang members use a hand sign
           forming an “E” to represent gang identity, which can be flashed in three different
           ways. Elk Block gang graffiti is located on various buildings in their territory and is
           there to serve notice that Elk Block exists and that they have a territory. In the late
           1990's Elk Block members adopted a sign or "flag" - a cream colored bandana –
           which indicated to others that they were members of Elk Block. Some of the gang
           members have large tattoos on their bicep/tricep area which have the words "Elk
           Block" or "Elk" clearly displayed. Some others have tattoos honoring deceased gang
           members, such as Demetrius Elmore, aka Tinker or Tink, who were murdered by rival
           gangs.


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           Elk Block members routinely arm themselves with firearms in order to protect their
           territory, to protect their drug trade, to project a violent attitude to rival gang
           members, and to retaliate against any rival gangs who committed acts of violence
           against any Elk Block gang members.

           Key factors which decide whether one is allowed in as a member of Elk Block
           include: familial affiliation with a current gang member; seniority in the gang;
           demonstrating an ability to sell large quantities of crack cocaine on the street; and
           demonstrating a willingness to engage in violent behavior to further the gang’s drug
           trafficking activities and to protect its territory.

           Elk Block gang members are often supported by other gang members upon their arrest
           through payments of lawyers fees. They also, on occasion, use drug-derived proceeds
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           to bribe and attempt to bribe, key witnesses to crimes Elk Block gang members have
           committed in an effort to get them to change their testimony or refuse to testify. They
           also, on occasion, engage in intimidating tactics against those witnesses, such as
           issuing threats and physical violence if they opt to testify.

           In addition to meeting on a regular basis to pool their drug money so that senior Elk
           Block members can travel to New York City to obtain additional quantities of crack
           cocaine, Elk Block members also hold meetings when significant events within the
           gang occur. These meetings often center around issues such as retaliation against rival
           gang members and planning criminal activities. The meetings most often take place
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           in the 200 block of McKinley Street, which is a dead end, so that they could easily
           spot intruders or law enforcement. These meetings are dominated by individuals
           within the gang who have gained status, based upon longevity within the gang, their
           considerable success in drug sales, and/or their propensity to project a violent attitude.

           The senior members of Elk Block that maintain a leadership position within the gang
           include Billy Applins, a/k/a "Gee"; "Billy Pringle," and James Kelly, a/k/a "Boom,"
           among others. Applins and Kelly often cajole younger gang members to “put in work”
           for the gang, which means to get them to engage in violent acts or deal more drugs.
           Applins and Kelly, on occasion, offer ounce and multi-ounce quantities of crack
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           cocaine if other gang members engaged in violent acts on behalf of the gang.
           Further, the eighteen-page indictment detailed defendant’s involvement with the Elk

    Block gang and his participation in ten of the alleged overt acts, including the possession of

    cocaine base (crack) and marijuana and attempted murder. Thus, based on the indictment,

    Magistrate Judge DiBianco had an ample basis on which to find probable cause to believe

    defendant was engaged in a RICO conspiracy. See United States v. Seybold, 726 F.2d 502, 505



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    (9th Cir. 1984) (holding that although “[a] grand jury's determination that sufficient evidence of

    guilt exists to indict an individual may not necessarily mean that evidence of that person's guilt

    will likely be found in his residence” when a search warrant application includes the indictment

    itself, “a magistrate may apply his independent judgment to the factual allegations in an

    indictment to determine whether probable cause for a search warrant exists.”); United States v.

    Windrix, 405 F.3d 1146, 1153 (10th Cir. 2005) (holding that the affidavit in support of the search

    warrant, which incorporated the “allegation in the original indictment against Defendants that
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    they had conspired to manufacture and distribute methamphetamine”, “provided probable cause

    to believe that Defendants were drug traffickers”). Accordingly, the Court must consider whether

    Magistrate Judge DiBianco had a substantial basis for finding probable cause to believe evidence

    of a RICO conspiracy would be found in defendant’s residence.

           Defendant asserts that the Court should excise the statement in the warrant affidavit based
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    on information from a cooperating witness because the affidavit contains no indication that the

    cooperating witness is reliable. In the affidavit, Detective Murphy states: “Earlier today, the

    aforementioned [cooperating witness] confirmed that he was in the basement bedroom of this

    apartment last Saturday with Robinson, that it was Robinson’s bedroom, and that he personally

    observed a handgun kept behind a television in the room.” In United States v. Wagner, the
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    Second Circuit explained that:

           [t]he core question in assessing probable cause based upon information supplied by
           an informant is whether the information is reliable. Information may be sufficiently
           reliable to support a probable cause finding if the person providing the information
           has a track record of providing reliable information, or if it is corroborated in material
           respects by independent evidence. If a substantial amount of information from an
           informant is shown to be reliable because of independent corroboration, then it is a
           permissible inference that the informant is reliable and that therefore other
           information that he provides, though uncorroborated, is also reliable.


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    989 F.2d 69, 72-73 (2d Cir. 1993).

           Here, the warrant application identifies the informant as a “cooperating witness” “from the

    Elk Block Gang”. Detective Murphy avers that the informant “has provided substantial

    information about the Elk Block Gang”, which authorities have corroborated. Thus, it is

    permissible to infer the cooperating witness’s reliability. In any event, the affidavit contained

    additional information which supports Magistrate Judge DiBianco’s conclusion that there was
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    probable cause to believe evidence of a RICO conspiracy was located at defendant’s residence.

    For example, Detective Murphy stated in the affidavit that defendant’s mother was the listed

    renter of the apartment and that Onondaga County Detective Matthew Hayes “has encountered

    Robinson” at the residence “pursuant to numerous prior criminal investigations.” Moreover, as

    laid out in the affidavit, Detective Murphy is an experienced law enforcement officer with
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    extensive training regarding gangs. Detective Murphy is assigned to the Syracuse Gang Violence

    Task Force and has “been heavily involved in the investigations and federal prosecutions of the

    Boot Camp Gang [and] the North Side Bloods”. Based on his training and experience, Detective

    Murphy has considerable knowledge “as to the inner workings of street gangs, and the habits and

    customs of gang members.” Relying on his knowledge, experience and investigation, Detective
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    Murphy stated that gang members maintain in their residences documents relating to their drug

    trade, currency to maintain their drug business, drugs, address books with the telephone numbers

    of their drug and gang associates, photographs and videotapes of themselves and their associates,

    drug paraphernalia, and firearms. An agent's expert opinion is an important factor to be

    considered by the judge reviewing a warrant application. United States v. Young, 745 F.2d 733,

    758 (2d Cir. 1984). This information, together with the remainder of the affidavit and indictment


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    attached to the search warrant application, is more than sufficient to establish probable cause to

    believe that defendant was involved in a RICO conspiracy through his membership in the Elk

    Block gang and that evidence of the RICO conspiracy would be found in his residence.

    Accordingly, defendant’s motion to suppress is denied.

    IV.    CONCLUSION

           For the foregoing reasons, it is hereby

           ORDERED that defendant William Robinson’s motion to suppress physical evidence is
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    DENIED.

           IT IS SO ORDERED.

           DATE: November 17, 2006
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